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               Exhibit B
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    Trials@uspto.gov                                               Paper 17
    571-272-7822                                      Entered: July 25, 2022



           UNITED STATES PATENT AND TRADEMARK OFFICE
                           ____________

            BEFORE THE PATENT TRIAL AND APPEAL BOARD
                           ____________

            CODE200, UAB; TESO LT, UAB; METACLUSTER LT,
             UAB;OXYSALES, UAB; AND CORETECH LT, UAB,
                              Petitioner,

                                         v.

                              BRIGHT DATA LTD.,
                                 Patent Owner.
                                 ____________

                                 IPR2022-00862
                               Patent 10,484,510 B2
                                  ____________


    Before THOMAS L. GIANNETTI, SHEILA F. McSHANE, and
    RUSSELL E. CASS, Administrative Patent Judges

    McSHANE, Administrative Patent Judge.



                                  DECISION
                   Denying Institution of Inter Partes Review
                                35 U.S.C. § 314
                            Denying Motion for Joinder
                       35 U.S.C. § 315(c); 37 C.F.R. § 42.122
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                                 I. INTRODUCTION
          Code200, UAB, Teso LT, UAB, Metacluster LT, UAB, Oxysales,
    UAB, and Coretech LT, UAB (“Petitioner” or “Code200”) filed a Petition
    for inter partes review of claims 1, 2, 6–11, 13, and 15–24 of U.S. Patent
    No. 10,484,510 B2 (Ex. 1001, “the ’510 patent”). Paper 1 (“Pet.”). Patent
    Owner filed a Preliminary Response. Paper 15 (“Prelim. Resp.”). With the
    Petition, Petitioner also filed a Motion for Joinder with NetNut Ltd. v. Bright
    Data Ltd., IPR2021-01493 (“the 1493 IPR” ). Paper 7 (“Mot.”). Bright
    Data Ltd. (“Patent Owner”) filed an Opposition to the Motion for Joinder.
    Paper 11 (“Opp.”). Petitioner filed a Reply to Patent Owner’s Opposition.
    Paper 13 (“Reply”).
          We have authority under 35 U.S.C. § 314(a), which provides that an
    inter partes review may not be instituted “unless . . . there is a reasonable
    likelihood that the petitioner would prevail with respect to at least 1 of the
    claims challenged in the petition.” Under 35 U.S.C. § 315(b), “[a]n inter
    partes review may not be instituted if the petition requesting the proceeding
    is filed more than 1 year after the date on which the petitioner, real party in
    interest, or privy of the petitioner is served with a complaint alleging
    infringement of the patent.” Section 315(b) further provides that “[t]he time
    limitation set forth in the preceding sentence shall not apply to a request for
    joinder under subsection (c).” Additionally, under 35 U.S.C. § 315(c), “the
    Director, in his or her discretion, may join as a party to that inter partes
    review any person who properly files a petition under section 311 that the
    Director . . . determines warrants the institution of an inter partes review
    under section 314.”



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          For the reasons described below, we do not institute an inter partes
    review of the challenged claims and we deny Petitioner’s Motion for
    Joinder.

                           II. RELATED PROCEEDINGS
          The ’510 patent has been the subject of numerous proceedings in
    district court and the Board. We summarize these proceedings below.
          A. Teso Litigation
          The parties indicate that there are several related district court
    litigations involving the ’510 patent, including, most particularly, Bright
    Data Ltd. v. Teso LT, UAB, 2:19-cv-00395-JRG (E.D. Tex.) (“the Teso
    litigation”). Pet. 3; Mot. 2; Paper 16 (Updated Mandatory Notices), 3. In
    the Teso litigation, Bright Data Ltd., the Patent Owner here, sued
    defendants, Teso LT, UAB, Metacluster LT, UAB, Oxysales, UAB, and
    Coretech LT, UAB, some of the petitioner group here, for infringement of
    the ’510 patent, as well as U.S. Patent Nos. 10,257,319 and 10,469,614.
    Mot. 2. In the Teso litigation, a jury trial was conducted, and the issue of
    whether claims 1 and 22 of the ’510 patent were invalid in view of the
    Crowds reference asserted here (see infra) was presented by the defendants.
    Id. The jury found that that the defendants did not prove that these claims
    were invalid by clear and convincing evidence. Id.
          B. 1358 IPR
          The parties identify IPR2020-01358 (“the previously-filed 1358
    IPR”), filed by Petitioner, which challenged certain claims of the ’510
    patent. Mot. 3; Paper 16, 1; Opp. 8. The previously-filed 1358 IPR was
    denied on discretionary grounds. Mot. 3.


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             C. ’510 Patent Reexamination
             The parties also indicate that the ’510 patent is the subject of an ex
    parte reexamination, Control No. 90/014,876, which has been stayed. Mot.
    5; Paper 16, 2.
             D. 1493 IPR
             In the 1493 IPR, the case to which Petitioner is seeking joinder, we
    instituted an inter partes review of claims 1, 2, 6–11, 13, and 15–24 of the
    ’510 patent on the following grounds:

         Claims Challenged        35 U.S.C. § 1               Reference(s)
         1, 6, 7, 13 2, 15, 16,      102(b)                     Crowds3
                18–24
        1, 2, 6–11, 13, 15, 16,
                                     103(a)               Crowds, RFC 2616 4
                18–24
         1, 6, 10, 15–20, 23,
                                     102(b)                      Border5
                   24
        1, 6, 8–11, 13, 15–20,
                                     103(a)                Border, RFC 2616
                22–24



    1
      The Leahy-Smith America Invents Act (“AIA”), Pub. L. No. 112-29, 125
    Stat. 284, 287–88 (2011), amended 35 U.S.C. §§ 102 and 103, effective
    March 16, 2013. Because the ’510 patent claims priority to a provisional
    application that was filed before this date, with Petitioner not contesting that
    priority, the pre-AIA versions of §§ 102 and 103 apply. See Ex. 1001, code
    (60); Pet. 17.
    2
      The Petition includes assertions for claim 13 under the Crowds anticipation
    ground. Pet. 33. Accordingly, we include this claim in the summary table,
    although not included in the Petition’s summary table. Id. at 9.
    3
      Michael K. Reiter, Crowds: Anonymity for Web Transactions, ACM
    Transactions on Information and System Security, Vol. 1, No. 1, November
    1998, at 66–92 (Ex. 1006).
    4
      Hypertext Transfer Protocol—HTTP/1.1, Network Working Group, RFC
    2616, The Internet Society, 1999 (Ex. 1013).
    5
      U. S. Patent No. 6,795,848, issued September 21, 2004 (Ex. 1012).
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         Claims Challenged        35 U.S.C. § 1            Reference(s)
          1, 6–8, 13, 15, 16,
                                     102(b)                 MorphMix6
                18–24
        1, 2, 6–11, 13, 15, 16,
                                     103(a)            MorphMix, RFC 2616
                18–24
    NetNut Ltd. v. Bright Data Ltd., IPR2021-001493, Paper 11 at 7, 42 (PTAB
    Mar. 21, 2022) (“1493 Decision” or “1493 Dec.”).
             Patent Owner settled with NetNut in the 1493 IPR, and NetNut has
    been terminated as Petitioner in that action. 1493 IPR, Paper 19.
             E. 1110 IPR
             There is also a newly-filed petition in pending IPR2022-01110, which
    challenges claims of the ’510 patent based on Plamondon (“the 1110 IPR”),
    filed by Petitioner. Code200, UAB v. Bright Data Ltd., IPR2022-01110,
    Paper 1, 3. In the 1110 IPR, Petitioner seeks joinder with previously-
    instituted case IPR2022-00138 (“the 138 IPR”), which was filed by The
    Data Company Technologies Inc. Paper 7. The Board has not yet
    determined whether to grant institution and joinder in the 1110 IPR.
             F. 138 IPR
             In the 138 IPR, The Data Company Technologies Inc. filed a petition
    challenging certain claims of the ’510 patent based on Plamondon. As
    noted, institution was granted in the 138 IPR and Petitioner seeks to join it in
    the 1110 IPR.
             G. Major Data IPR
             There is also another pending inter partes review challenge to the
    ’510 patent, filed by Major Data UAB, which also seeks joinder with the


    6
     Marc Rennhard, MorphMix—A Peer-to-Peer-based System for
    Anonymous Internet Access (2004) (Ph.D. dissertation, Swiss Federal
    Institute of Technology) (Ex. 1008).
                                              5
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    1493 IPR. Major Data UAB v. Bright Data Ltd., IPR2022-00916, Paper 3
    (PTAB April 21, 2022) (“the Major Data IPR”). No decision has been
    rendered on institution or the joinder motion in that case.

                                   III. DISCUSSION
            A. Background
            The Petition in this proceeding is a “me-too” petition asserting the
    same grounds of unpatentability as those upon which we instituted review in
    the 1493 IPR. Compare Pet. 2, with 1493 Dec. 7, 42. Consistent with this,
    Petitioner contends that the Petition is “is substantially identical to the
    petition in the NetNut IPR [1493 IPR] and contains the same grounds (based
    on the same prior art and supporting evidence) against the same claims, and
    differs only as necessary to reflect the fact that it is filed by a different
    petitioner.” Pet. 2 (citing Ex. 1024).
            Petitioner requests that we institute inter partes review for the same
    reasons we instituted review in the 1493 IPR and seeks joinder with that
    IPR. Mot. 1. Petitioner asserts that the request for joinder has been timely
    made. Id. at 6. Petitioner contends that the following factors identified in
    Kyocera Corp. v. Softview LLC favor joinder: (1) the reasons why joinder is
    appropriate; (2) whether the petition raises any new grounds of
    unpatentability; (3) any impact joinder would have on the cost and trial
    schedule for the existing review; and (4) whether joinder will add to the
    complexity of briefing or discovery. Id. at 6 (citing Kyocera Corp. v.
    Softview LLC, IPR2013-00004, Paper 15 at 4 (PTAB Apr. 24, 2013)
    (“Kyocera”); Consolidated Trial Practice Guide 76 (Nov. 2019) (“TPG”) 7).


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        Available at https://go.usa.gov/xpvPF.
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          More specifically, when addressing the Teso litigation, where Crowds
    was considered, Petitioner argues that the Teso litigation concerned different
    claims, different prior art, and a different burden of proof compared to the
    inter partes review sought to be joined. Mot. 6–10. Petitioner also asserts
    that the jury in the Teso litigation did not have the benefit of the district
    court’s Supplemental Claim Construction Order, (Ex. 1020), which is
    available here and which “the Board found persuasive” in the 1493 IPR. Id.
    at 9. Petitioner contends further that the Teso litigation has been stayed and,
    if and when the stay is lifted, the defendants intend to file post-judgment
    motions. Id. at 3.
          Petitioner also argues that the joinder motion is “routine,” and the
    Board “often grants motions for joinder in view of pending litigations
    involving the same patent and the same parties,” as is the case here. Mot. 9–
    10; Reply 1. Petitioner refers to its previously-denied petition in the 1358
    IPR that challenged claims of the ’510 patent, and asserts that because the
    previous denial was on a discretionary basis, and therefore did not reach the
    merits, this should not weigh against joinder here. Mot. 12; Reply 2–3
    (citing Intel Corp. v. VLSI Tech. LLC, IPR2022-00366, Paper 14, 9 (PTAB
    June 8, 2022) (“Intel”)8). Petitioner contends that it will assume an
    “understudy” role, and that joinder will not impact the trial schedule, or add
    to the cost, complexity of the briefing, or discovery of the joined proceeding.
    Mot. 14–15.




    8
      IPR2022-00366 has been joined with IPR2021-01064. Certain issues in
    the joined cases are the subject of Director review, but the issues under
    review are not related to joinder or any other issues we address herein.
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          Patent Owner opposes the Motion for Joinder. Patent Owner argues
    that the burden is on Petitioner to justify joinder and that burden has not
    been met. Opp. 1. Patent Owner contends that, absent joinder. the Petition
    would be time-barred under 35 U.S.C. § 315(b). Id. at 11. Patent Owner
    argues that it should be able to rely on the jury verdict against Petitioner in
    the Teso litigation, and that “Petitioner’s actions undermine the integrity of
    the judicial process.” Id.
          Additionally, Patent Owner contends that Patent Owner has settled its
    disputes with NetNut, and Petitioner should not be allowed to continue a
    proceeding that would otherwise be terminated. Opp. 2 (citing Apple Inc. v.
    Uniloc 2017 LLC, IPR2020-00854, Paper 9, 4 (PTAB Oct. 28, 2020)
    (precedential) (“Uniloc”)).
          B. Analysis
          For the reasons that follow, we deny institution under § 314(a).
                 1. Other Challenges to the ’510 patent
          The grounds in this Petition substantially overlap the grounds in the
    previously-denied 1358 IPR, as well as with the grounds that are the basis of
    the instituted 1493 IPR. The petition in the previously-denied 1358 IPR
    relied on the following grounds:
      Claims Challenged            35 U.S.C. §              Reference(s)
     1, 2, 6, 7, 15, 16, 18–
                                 102(b)           Crowds
     23
     1, 2, 6–11, 13, 15, 16,
                                 103(a)           Crowds, RFC 2616
     18–23
     1, 6, 10, 15–20, 23,
                                 102(b)           Border
     24
     1, 6, 8–11, 13, 15–20,
                                 103(a)           Border, RFC 2616
     22–24
     1, 2, 6–8, 13, 15, 16,      102(b)           MorphMix

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      Claims Challenged        35 U.S.C. §                 Reference(s)
     18–23
     1, 2, 6–11, 13, 15, 16,
                             103(a)              MorphMix, RFC 2616
     18–23
    1358 IPR, Paper 11 at 4–5.
          We note also that this is not a typical “me too” joinder request. Mot.
    13–15. Although Petitioner has agreed to an “understudy” role, NetNut, the
    petitioner in the 1493 IPR to be joined, has been terminated from that
    proceeding due to a settlement. 1493 IPR, Paper 19. Therefore, Petitioner
    would not be acting in the role of an understudy, but would immediately
    assume the leading role if joinder were granted. Prelim. Resp. 12; Opp. 14–
    15. Thus, if we granted joinder here, “Petitioner would stand in to continue
    a proceeding that would otherwise be terminated.” Uniloc, Paper 9 at 4. As
    a result, if we were to institute this case and grant joinder, Petitioner would
    be advancing substantially the same grounds it initially relied on in the 1358
    IPR, which was denied in 2021.
          In addition, Petitioner challenges claims 1–12 and 15–24 of the ’510
    patent based on Plamondon in the 1110 IPR. 1110 IPR, Paper 1. The claims
    challenged in the 1110 IPR therefore also significantly overlap with the
    claims challenged here and those previously challenged in the 1358 IPR.
    See discussion supra.
                 2. General Plastic
          Both parties present additional arguments under Fintiv and General
    Plastic in support of their respective positions. Pet. 10–11; Prelim. Resp. 4–
    24; Opp. 2, 8–10; Reply 2–5 (citing Apple Inc. v. Fintiv Inc., IPR2020-
    00019, Paper 11 (PTAB March 20, 2020) (precedential) (“Fintiv”); General
    Plastic Industrial Co., Ltd. v. Canon Kabushiki Kaisha, IPR2016-01387,


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    Paper 19 (PTAB Sept. 6, 2017) (precedential as to § II.B.4.i) (“General
    Plastic”)).
          Under General Plastic, the Board may deny a petition based on
    discretionary authority of § 314(a). General Plastic, Paper 19 at 15; see also
    Uniloc, Paper 9 at 4–5. In considering whether to grant joinder with the
    1493 IPR, we may also consider whether to exercise our discretion under 35
    U.S.C. § 314(a). Under 35 U.S.C. § 315(c), the statutory provision
    governing joinder, the discretion to join a party to an ongoing IPR is
    premised on the determination that the petition warrants institution under
    § 314. This statutory provision reads:
                  If the Director institutes an inter partes review, the
                  Director, in his or her discretion, may join as a party
                  to that inter partes review any person who properly
                  files a petition under section 311 that the Director,
                  after receiving a preliminary response under section
                  313 or the expiration of the time for filing such a
                  response, determines warrants the institution of an
                  inter partes review under section 314.
    Further, “[t]o join a party to an instituted IPR, the plain language of § 315(c)
    requires two different decisions.” Facebook, Inc. v. Windy City Innovations,
    LLC, 973 F.3d 1321, 1332 (Fed. Cir. 2020). Thus, in applying § 315(c), we
    first “determine whether the joinder applicant’s petition for IPR ‘warrants’
    institution under § 314.” Id. Second, if the petition warrants institution, we
    then “decide whether to ‘join as a party’ the joinder applicant.” Id. For the
    reasons that follow, we are persuaded to exercise our discretion, under
    General Plastic, not to institute this proceeding.




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          In General Plastic, the Board articulated a list of non-exclusive
    factors to be considered in determining whether to exercise discretion under
    § 314(a) to deny a petition:
          1. whether the same petitioner previously filed a petition
          directed to the same claims of the same patent;
          2. whether at the time of filing of the first petition the petitioner
          knew of the prior art asserted in the second petition or should
          have known of it;
          3. whether at the time of filing of the second petition the
          petitioner already received the patent owner’s preliminary
          response to the first petition or received the Board’s decision on
          whether to institute review in the first petition;
          4. the length of time that elapsed between the time the petitioner
          learned of the prior art asserted in the second petition and the
          filing of the second petition;
          5. whether the petitioner provides adequate explanation for the
          time elapsed between the filings of multiple petitions directed
          to the same claims of the same patent;
          6. the finite resources of the Board; and
          7. the requirement under 35 U.S.C. § 316(a)(11) to issue a final
          determination not later than 1 year after the date on which the
          Director notices institution of review.
    General Plastic, Paper 19 at 16 (citing NVIDIA Corp. v. Samsung Elec. Co.,
    IPR2016-00134, Paper 9 at 6–7 (PTAB May 4, 2016)).

          Factor 1: “whether the same petitioner previously filed a
          petition directed to the same claims of the same patent”
          There are two other inter partes petitions that Petitioner has filed,
    besides this one, that challenge claims of the ’510 patent: the previously-
    denied 1358 IPR and the pending 1110 IPR, which we will discuss under
    factor 6 below.



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           Patent Owner relies on Uniloc to argue that because Petitioner
    previously filed the 1358 IPR petition, which challenged the ’510 patent
    based on the same prior art asserted here, this favors denial of institution
    under factor 1. Opp. 2, 8. Petitioner asserts that because the 1358 IPR
    petition was not evaluated on the merits, and instead the denial was based on
    discretionary grounds, Petitioner relies upon Intel to distinguish the Uniloc
    case, because it addressed a situation after denial of an earlier petition on the
    merits. Reply 2 (citing Intel, Paper 14 at 9).
           Although this case has some similarities with Intel, it differs on the
    issue of whether the petitioner had the benefit of the Board’s guidance on the
    use of stipulations that agree not to raise the grounds asserted in the IPR at
    trial. Intel, Paper 14 at 13–14; Prelim. Resp. 7–9. In Intel, the Board found
    that the decision denying the earlier petition occurred before the Board had
    expressed its approval of such stipulations in Sotera Wireless or Sand
    Revolution II. Id. However, as Patent Owner argues, the petition in the
    earlier 1358 petition was filed after Sand Revolution II had been designated
    informative. Prelim. Resp. 8. Unlike the petitioner in Intel, Petitioner here
    had the guidance provided by Sand Revolution II, and could have proffered
    such a stipulation, but did not do so. We determine that this failure to
    provide such a stipulation in the face of clear guidance from the Board
    weighs strongly in favor of exercising discretion to deny institution and
    outweighs the fact that the Board did not substantively address the merits of
    the prior petition.
           Accordingly, based on the record before us, we agree with Patent
    Owner (Opp. 8; Prelim. Resp. 7–8) that this General Plastic factor weighs in
    favor of exercising discretion to deny institution of the proceeding.


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          Factor 3: “whether at the time of filing of the second petition
          the petitioner already received the patent owner’s preliminary
          response to the first petition or received the Board’s decision
          on whether to institute review in the first petition”

          Patent Owner asserts that Petitioner had received Patent Owner’s
    preliminary responses and the Board’s institution decisions in the
    previously-filed 1358 IPR and in the 1493 IPR before the filing of this
    Petition. Opp. 8–9.
          General Plastic expresses concern over “road mapping,” that is,
    taking advantage of prior filings to obtain a “roadmap” of the opponent’s
    case. General Plastic, Paper 19 at 17. Patent Owner presents no evidence,
    however, that this Petition has been modified from the petition in the 1358
    IPR filed in 2020 based on information that became available in the
    subsequent preliminary response and decision in the 1493 IPR.
          Therefore, there is no evidence of road mapping and, thus, this third
    General Plastic factor does not weigh in favor of exercising discretion to
    deny institution of the proceeding.

          Factor 2: “whether at the time of filing of the first petition the
          petitioner knew of the prior art asserted in the second petition
          or should have known of it”

          Factor 4: “the length of time that elapsed between the time the
          petitioner learned of the prior art asserted in the second
          petition and the filing of the second petition”
          Factor 5: “whether the petitioner provides adequate
          explanation for the time elapsed between the filings of multiple
          petitions directed to the same claims of the same patent”

          The Board considers these factors “to assess and weigh whether a
    petitioner should have or could have raised the new challenges earlier.”


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    General Plastic, Paper 19 at 18. Based on the circumstances here, these
    factors have limited relevance. As discussed, the grounds in the previously-
    denied 1358 IPR substantially overlap with the grounds in this Petition, so
    there are no new challenges at issue here.
          Patent Owner argues that this Petition was filed 22 months after
    Petitioner had knowledge of the prior art references, and Petitioner filed the
    Petition just prior to the one-month deadline after institution in the 1493
    IPR. Opp. 9. While this is accurate, Petitioner’s actions, in large part,
    appear to be reasonably diligent under the circumstances. Petitioner could
    not have filed this Petition prior to the institution of the 1493 IPR. And
    because the asserted prior art is the same as the earlier-asserted art, we see
    no prejudice to Patent Owner due to the timing of the Petition.
          Accordingly, we determine that the second, fourth, and fifth General
    Plastic factors do not weigh in favor of exercising discretion to deny
    institution of the proceeding.

          Factor 6: “the finite resources of the Board”
          Patent Owner argues that the Board should not expend its finite
    resources on Petitioner’s multiple bites of the apple which include three
    IPRs, a reexamination, and a jury trial on the same prior art references. Opp.
    1, 9–10; Prelim. Resp. 4, n.1, 9–12.
          In addition to the previously-filed 1358 IPR, which we discuss above,
    Petitioner also has the pending petition in the 1110 IPR,9 filed on June 9,
    2022, which also challenges claims of the ’510 patent, including sole



    9
      We do not assess or suggest an outcome on the decision on institution and
    joinder motion in the pending 1110 IPR.
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    independent claim 1, but relies on Plamondon as the primary prior art.
    Code200, UAB v. Bright Data Ltd., IPR2022-01110, Paper 1, 3.
          The Board’s Consolidated Trial Practice Guide provides guidance on
    multiple petitions, including identifying circumstances where more than one
    petition may be necessary. TPG, 59. The Guide instructs the petitioner to
    provide a ranking between the petitions and provide information as to why
    the Board should exercise discretion to institute additional petitions. Id. 59–
    60. Here, Petitioner has not provided a ranking or rationale to support the
    need for multiple petitions. Accordingly, we have no guidance as to why we
    should expend the Board’s resources to potentially institute multiple
    proceedings by joining and instituting this case.
          Additionally, we consider efficiency relating to the Teso litigation.
    As discussed above, a jury verdict has already been reached in that litigation,
    and the issue of whether claims 1 and 22 of the ’510 patent are invalid in
    view of Crowds was before the jury. Mot. 2. We agree with Petitioner that
    there are some differences between the prior art and claims at issue here
    compared to those in the Teso litigation, and there are different burdens of
    proof. Mot. 6–9. Nonetheless, we agree with Patent Owner that institution
    and joinder would create significant risk of the Board redoing at least some
    of the work done in the litigation. Prelim. Resp. 15–16.
          Accordingly, we determine that the sixth General Plastic factor
    weighs strongly in favor of exercising discretion to deny institution of the
    proceeding.

          Factor 7: “the requirement under 35 U.S.C. § 316(a)(11) to
          issue a final determination not later than 1 year after the date
          on which the Director notices institution of review”


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          Patent Owner argues that granting institution and joinder would have
    a negative effect on the trial schedule and create added complexity in the
    proceeding. Opp. 10.
          We agree with Patent Owner that there would likely be a negative
    impact on the schedule in the 1493 IPR that would affect whether the one
    year deadline could be met. The 1493 IPR was instituted on March 21,
    2022, with oral argument set on December 16, 2022. 1493 IPR, Papers 12,
    11. If Petitioner is joined to that case, Petitioner has stated that the Board
    should “revisit scheduling for these proceedings after decisions on the
    joinder motions are made in the related proceedings.” Ex. 2009. Although
    Patent Owner agreed to accelerate some briefing in this case to allow
    consideration of institution and this joinder motion, this case still lags behind
    the 1493 IPR schedule by approximately four months. Paper 12. To adjust
    the schedule to accommodate joinder to issue a final determination within
    one year, the time to complete briefing would have to be significantly
    accelerated, which may not be possible. Additionally, notwithstanding that
    the one year statutory time period may be adjusted for a joined case under 35
    U.S.C. § 316(a)(11), granting institution and joinder in this case would
    unnecessarily delay this proceeding beyond the Board’s goal of a one-year
    pendency for all IPR proceedings.
          Accordingly, we determine that the seventh General Plastic factor
    weighs strongly in favor of exercising discretion to deny institution of the
    proceeding.
                  3. Conclusion
          In light of the General Plastic factors, the guidance expressed in the
    Trial Practice Guide, and the arguments presented for and against the


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    exercise of discretionary denial, we conclude that it is appropriate here to
    exercise our discretion under 35 U.S.C. § 314(a) to deny institution.

                    IV. DENIAL OF MOTION FOR JOINDER
          As stated above, the Director may join a party to an ongoing IPR only
    if the filed petition warrants institution under § 314. 35 U.S.C. § 315(c).
    Because we exercise discretion to deny institution under § 314, we deny also
    Petitioner’s Motion for Joinder.

                                       V. ORDER
          Accordingly, it is:
          ORDERED that, pursuant to 35 U.S.C. § 314(a), the Petition is
    denied; and
          FURTHER ORDERED that the Motion for Joinder is denied.




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